Case 1:18-cv-06460-SJ-CLP Document 13 Filed 12/04/18 Page 1 of 3 PageID #: 36



                      UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF NEW YORK (BROOKLYN)
______________________________________________________________________________

KIMBERLY ANN THOMAS,                                   CASE NO. 1:18-cv-06460-SJ-CLP
          Plaintiff,                                    ECF Case

       vs.

TRANS UNION, LLC, in its own                           TRANS UNION RENTAL SCREENING
name and d/b/a TRANS UNION                             SOLUTIONS, INC.’S CORPORATE
RENTAL SCREENING SOLUTIONS,                            DISCLOSURE STATEMENT
INC. and TRANSUNION RENTAL
SCREENING SOLUTIONS, INC., in its
own name;
              Defendants.


       Defendant Trans Union Rental Screening Solutions, Inc., by counsel, pursuant to Rule 7.1

of the Federal Rules of Civil Procedure, states as follows:

       TransUnion Rental Screening Solutions, Inc. discloses that the following parent

corporations and publicly held companies own 10% or more of its stock: Trans Union Rental

Screening Solutions, Inc. is a wholly-owned subsidiary of Trans Union, LLC. Trans Union LLC

is a wholly owned subsidiary of TransUnion Intermediate Holdings, Inc. TransUnion Intermediate

Holdings, Inc. is wholly owned by TransUnion. TransUnion is a publicly traded entity with the

ticker symbol TRU. Investment funds affiliated with T. Rowe Price Group, Inc., a publicly-traded

entity with the ticker symbol TROW, own more than 10 percent of TransUnion’s stock.




                                             Page 1 of 3
Case 1:18-cv-06460-SJ-CLP Document 13 Filed 12/04/18 Page 2 of 3 PageID #: 37



Date: December 4, 2018                       Respectfully submitted,



                                             /s/ Camille R. Nicodemus
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                                             Counsel for Defendant Trans Union, LLC
                                             and Trans Union Rental Screening
                                             Solutions, Inc.




                                   Page 2 of 3
Case 1:18-cv-06460-SJ-CLP Document 13 Filed 12/04/18 Page 3 of 3 PageID #: 38



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 4th day of December, 2018. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Adam G. Singer, Esq.
 asinger@adamsingerlaw.com

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 4th day of December, 2018,

properly addressed as follows:

 None



                                                        /s/ Camille R. Nicodemus
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                                              Page 3 of 3
